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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

 LINDSEY K. SPRINGER,                                )
                                                     )
                    Plaintiff,                       )
                                                     )
 vs.                                                 )
                                                     )         Case No. 06-CV-156 -GKF-FHM
 DOUGLAS HORN, et al.,                               )
                                                     )
                    Defendants.                      )
                                                     )
                                                     )
                                                     )

                                  OPINION AND ORDER

           This matter comes before the court on the Motion for Summary Judgment of defendant

 IRS Special Agents Brian Shern, Jason White, Marc Collins, Loy Smith, Donald Anderson,

 Kathy Beckner, Christopher Albin, Scott A. Wells, Diana S. Megli, Donald G. Shoemake and

 William Robert Taylor. [Doc. No. 156]. For the reasons set forth below, defendants’ motion is

 denied.

                                   I. Background/Procedural History

           This Bivens suit arises from events surrounding the September 16, 2005, execution by

 Internal Revenue Special Agents of a search warrant at the home of plaintiff in Kellyville,

 Oklahoma. During the search, agents seized currently they logged, tagged and inventoried as

 “approximately $19,000 cash.” The currency was delivered to a local bank, where a teller

 counted it and informed the agents the amount of cash was only $17,000. When the money was

 returned to plaintiff on January 10, 2006, the amount returned was $17,000. Plaintiff sued two
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 assistant United States Attorneys 1 and the IRS agents. The IRS agents filed motions to dismiss

 for lack of jurisdiction and failure to state a claim upon which relief can be granted. [Doc. Nos.

 12, 29, 30]. Those motions were denied. [Doc. No. 41]. Defendants then filed a Motion for

 Judgment on the Pleadings [Doc. No. 106], raising the doctrine of qualified immunity, arguing

 the alleged theft or conversions was not a cognizable Bivens claim because plaintiff had a

 remedy under the Federal Tort Claims Act, and asserting plaintiff had failed to alleged

 defendants’ personal participation in the alleged constitutional violations. The motion was

 denied [Doc. No. 155].

           In support of their summary judgment motion, defendants once again raise qualified

 immunity. They argue plaintiff has not asserted a cognizable Fourth Amendment claim and is

 precluded from asserting a Fifth Amendment Bivens claim because he had a remedy under the

 Federal Tort Claims Act. Moreover, they claim there is no evidence the amount of cash seized

 was $19,000 rather than $17,000. Fianlly, they allege plaintiff executed a release that bars this

 action.

                                     II. Standard of Review

           Summary judgment is appropriate “if the pleadings, depositions, answers to

 interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

 genuine issue as to any material fact and that the moving party is entitled to a judgment as a

 matter of law.” Fed. R. Civ. P. 56(c). When applying this standard, a court must examine the

 factual record and reasonable inferences therefrom in the light most favorable to the party



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        On November 28, 2008, the court granted the assistant United States Attorneys’ Motion
 for Summary Judgment. [Doc. No. 150].

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 opposing summary judgment. Wolf v. Prudential Insurance Co. of America, 50 F.3d 793, 796

 (10th Cir. 1995). The movant for summary judgment must meet the initial burden of showing

 the absence of a genuine issue of material fact, then the nonmovant bears the burden of pointing

 to specific facts in the record “showing a genuine issue for trial as to those dispositive matters

 for which it carries the burden of proof.” Id.

                                        III. Analysis

                        A. Defendants’ Qualified Immunity Defense

        The IRS Special Agents contend they are entitled to summary judgment on plaintiffs’

 claim on the basis of qualified immunity. Qualified immunity protects government officials

 from individual liability unless the official’s conduct violates clearly established constitutional

 rights. See Perez v. Unified Gov’t of Wynadotte County, 432 F.3d 1163, 1165 (10th Cir. 2005);

 Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). When a defendant raises a qualified immunity

 defense, the plaintiff bears the burden of establishing (1) that the defendant’s actions violated a

 constitutional or statutory right; and (2) the constitutional or statutory rights was clearly

 established at the time of the conduct at issue. Perez, 432 F.3d at 1165; Albright v. Rodriguez,

 51 F.3d 1531, 1534 (10th Cir. 1995). The doctrine ensures that government actors have notice of

 the constitutional restrictions on their behavior. Davis v. Scherer, 468 U.S. 183, 195 (1984).

        Defendants assert they are entitled to qualified immunity on plaintiff’s Fourth

 Amendment claim. The court has already rejected defendants’ argument that, as a matter of law,

 no Fourth Amendment claim could exist. [Doc. 41, p. 4]. Defendants also contend they did not

 seize $19,000, but only “approximately $19,000,” which in reality was only $17,000. The court

 finds a material issue of fact remains concerning whether the amount of money discovered in


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 plaintiff’s house was actually $19,000–as claimed by plaintiff’s wife [Doc. No. 138, Ex. 2], or

 only approximately $19,000, as asserted by defendants. Further, a material issue of fact remains

 concerning whether, where and how $2,000 of the cash disappeared.2

        Defendants also argue no Fifth Amendment Bivens claim is available to plaintiff because

 of the existence of an adequate post-deprivation remedy under the Federal Tort Claims Act. This

 argument, too, was addressed and rejected in the court’s Opinion and Order denying defendants’

 Motion for Judgment on the Pleadings [Doc. No. 155].

        Finally, defendants assert plaintiff has presented no evidence they seized $19,000 in cash.

 This is not correct. During the search of plaintiff’s house, defendants identified a photo of the

 currency as “approximately $19,000,” completed an evidence tag stating the currency seized was

 “approximately $19,000 cash,” and inventoried the amount as “Approximately $19,000 in U.S.

 Currency.” Defendants contend they did not count the money in each paper-clipped bundle of

 cash, and therefore the number was only approximate and the actual amount of cash could have

 been only $17,000 rather than $19,000. However, plaintiff’s wife testified to the contrary,

 stating the “oldest man” in the group counted each note of each paper clip in her presence and in

 the presence of two other men and concluded there was $19,000 in paper clipped currency. [Doc.

 No. 138, Ex. 2]. Thus, a material issue of fact remains concerning the original amount of money

 counted by the agents and whether, how and when $2,000 disappeared after the agents counted

 the money.


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          In the past, defendants have intimated plaintiff’s wife took the money while agents were
 not present in the room with her. No such allegation is made in defendants’ current motion.
 [Doc. No. 157]. Plaintiff’s wife has testified that after an IRS agent counted the money and
 concluded there was $19,000 in paper-clipped bundles, she had no control over the currency and
 further that an agent was with her at all times during the search of the house. [Doc. 138, Ex. 2].

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                               B. The Release Executed by Plaintiff


        Finally, defendants claim that a release signed by plaintiff bars his claim. Plaintiff

 executed the release when the IRS agents gave him a United States Treasury check for $17,000

 on January 10, 2006. The release [Doc. No. 135, Ex. 6] states, in pertinent part:

        ...This agreement is made in consideration of the return of: $17,000.00 U.S.
        registered to/owned by: Lindsey K. Springer...which was seized pursuant to
        Title 18 U.S.C. Section 981 or 981/Title 26 U.S.C. Section 7302 in the course
        of a criminal or civil investigation...
                                                ****
        The registrant/owner hereby agrees to unconditionally release and hold harmless
        the Internal Revenue Service...from any and all claims, demands, damages,
        causes of action or suits... that might now exist or hereafter exist by reason of,
        or growing out of, or affecting, directly or indirectly, the seizure, custody or
        return of the above-described property.

 [Doc. No. 135, Ex. 6]. A release is valid and enforceable when (1) an attempt to excuse one

 party from liability is expressed in clear, definite and unambiguous language; (2) the contract is

 made at arm’s length with no vast disparity of bargaining power between the parties and (3) it is

 not contrary to public policy. Trumbower v. Sports Car Club of America, Inc., 428 F.Supp.

 1113, 1116 (W.D. Okla. 1976). Under Oklahoma law, an exculpatory contract must be strictly

 construed against the party excused from liability. See Mohawk Drilling Company v.

 McCullough Tool Company, 271 F.2d 627, 633 (10th Cir. 1957). Exculpatory clauses have been

 held not to include exemption from negligence unless an intent to do so is shown by “clear,

 definite and unambiguous language.” Id. at 632.

        Here, the release at issue is exculpatory in nature, and thus must be strictly construed


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 against defendants. On its face, the release references only the return of $17,000. The release

 does not address the fact that defendants had logged, tagged and inventoried “approximately

 $19,000,” nor does the document, by “clear, definite and unambiguous language,” manifest an

 intent to relieve defendants of liability for the missing cash. Therefore, the release does not

 absolve defendants of liability on plaintiff’s claims.

                                        IV. Conclusion

        For the reasons set forth above, defendants’ Motion for Summary Judgment [Doc. No.

 156] is denied.

        ENTERED this 7th day of April, 2009.




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